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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

LHISSIDEY HARRISON                                    )
                              Plaintiff               )
       vs.                                            )
                                                      )
AMAZON.COM SERVICES, INC.                             )               Case No: 20-2245
    Serve Registered Agent:                           )
    Corporation Service Company                       )
    2900 SW Wanamaker Drive, Ste 204                  )
    Topeka, KS 66614                                  )       JURY TRIAL DEMANDED
                                                      )
AMAZON.COM SERVICES, LLC                              )
    Serve Registered Agent:                           )
    Corporation Service Company                       )
    2900 SW Wanamaker Drive, Ste 204                  )
    Topeka, KS 66614                                  )
                         Defendants                   )

                                          COMPLAINT

       COMES NOW Plaintiff Lhissidey Harrison (“Plaintiff”), by and through her attorneys, to

allege the following against Amazon.com Services, Inc. (“Amazon Inc”) and Amazon.com

Services, LLC (“Amazon LLC”), collectively referred to herein as “Defendant.”

                                    JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury of all triable issues alleged herein.

                           DESIGNATION OF PLACE OF TRIAL

       Plaintiff designates Kansas City, Kansas as the place of trial.

                                  NATURE OF THE CLAIM

       1.      In May 2019, Defendant hired Plaintiff for employment at its Shawnee, KS facility.

       2.      On June 21, 2019, Plaintiff sustained traumatic burn injuries to her face and hands

causing a cosmetic disfigurement and requiring hospitalization and surgical intervention.




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       3.         Plaintiff and others immediately informed Defendant of the injuries to Plaintiff’s

face and hands, her hospitalization, and need for reasonable accommodation in the form of

temporary medical leave.

       4.         Defendant assured Plaintiff that her job was “secure” and then terminated her

employment on June 28, 2019, calling it a “voluntary termination.”

       5.         In the following months, Plaintiff registered multiple complaints with Defendant of

disability discrimination and retaliation while requesting that her employment be reinstated or that

she be rehired.

       6.         From August 1, 2019 to January 2020, Defendant refused to return Plaintiff to her

employment with Defendant.

       7.         In violation of The Americans with Disabilities Act, 42 USC §§ 12101 – 12213

(“ADA”), Defendant discriminated and retaliated against Plaintiff based on her disability, requests

for accommodations, and opposition to discrimination.

       8.         Defendant interfered with Plaintiff’s federally protected rights under the ADA.

       9.         Plaintiff seeks legal and equitable relief available under Title VII of the Civil Rights

Act of 1964 as amended, 42 U.S.C. § 2000e, et seq.

                                                PARTIES

       10.        PLAINTIFF is a female citizen of the USA domiciled in Missouri.

       11.        From May 2019 until June 28, 2019, Plaintiff was employed by Defendant.

       12.        As defined by 42 USC § 12111(4), Plaintiff was Defendant’s “employee.”

       13.        Prior to her discharge, Plaintiff had a “disability” as that term is defined by 42 USC

§ 12102(1) and CFR § 1630.2(g)-(i), in that she suffered from a physical condition (traumatic

burns to her face and hands, and cosmetic disfigurement) that substantially limited one or more



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major life activity, including, without limitation, caring for herself, performing manual tasks,

communicating or interacting with others, and working.

       14.     Prior to her discharge, Plaintiff had a “disability” as that term is defined by 42 USC

§ 12102(1), in that she had a record of having the impairment described in the preceding paragraph.

       15.     Prior to her discharge, Plaintiff had a “disability” as that term is defined by 42 USC

§ 12102(1), in that Defendant subjected Plaintiff to adverse employment actions because of her

actual or perceived impairments described above.

       16.     DEFENDANT AMAZON INC is a citizen of Delaware (its state of incorporation)

and Washington (the state in which its principal place of business is located).

       17.     Amazon Inc paid Plaintiff wages in 2019 and issued her a 2019 W2.

       18.     Amazon Inc employed Plaintiff at its Shawnee, Kansas facility.

       19.     During Plaintiff’s employment, Amazon Inc was an “employer” as that term is

defined by 42 USC § 12111(5) in that it was engaged in an industry affecting commerce and had

15 or more employees.

       20.     Before, during, and after Plaintiff’s employment with Amazon Inc, Amazon Inc

employed 15 or more employees.

       21.     Before, during, and after Plaintiff’s employment with Amazon Inc, Amazon Inc

employed more than 500 employees.

       22.     Amazon Inc is an artificial entity incapable of acting alone and therefore acts

through agents. It is liable for the conduct of its agents acting within the course and scope of their

agency, its own negligence, the acts of its agents which it ratifies, injuries incurred by agents’

performance of its non-delegable duties, and acts its agents take which are aided by their agency

with Amazon Inc.



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       23.      Amazon Inc is liable the acts of its agents which is knowingly ratifies.

       24.      On January 22, 2020, Amazon Inc filed a Foreign Corporation Certificate of

Withdrawal with the Kansas Secretary of State’s office and Amazon LLC filed its Application for

Registration.

       25.      Amazon Inc and Amazon LLC have the same principal place of business and

mailing address: 410 Terry Avenue North, Seattle, WA 98109.

       26.      In response to a charge of discrimination Plaintiff filed against Defendant with the

US Equal Employment Opportunity Commission (“EEOC”), Amazon LLC wrote the EEOC

saying, “The appropriate Respondent in this matter is Amazon.com Services, LLC, which is the

operating entity for DMC1 in Shawnee, Kansas.

       27.      Further discovery will likely show that in January 2020 Amazon LLC assumed all

of Amazon Inc’s assets and liabilities, and Amazon Inc simply changed its incorporation status to

a limited liability company.

       28.      DEFENDANT AMAZON LLC is a citizen of Delaware (its state of incorporation)

and Washington (the state in which its principal place of business is located).

       29.      After Plaintiff initiated her legal claims with the EEOC against Amazon Inc,

Amazon LLC reinstated Plaintiff’s employment at its Shawnee, Kansas facility in January 2020.

       30.      Amazon LLC pays Plaintiff wages.

       31.      During Plaintiff’s employment, Amazon LLC was an “employer” as that term is

defined by 42 USC § 12111(5) in that it was engaged in an industry affecting commerce and had

15 or more employees.

       32.      Before, during, and after Plaintiff’s employment with Amazon LLC, Amazon LLC

employed 15 or more employees.



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       33.     Before, during, and after Plaintiff’s employment with Amazon LLC, Amazon LLC

employed more than 500 employees.

       34.     Amazon LLC is an artificial entity incapable of acting alone and therefore acts

through agents. It is liable for the conduct of its agents acting within the course and scope of their

agency, its own negligence, the acts of its agents which it ratifies, injuries incurred by agents’

performance of its non-delegable duties, and acts its agents take which are aided by their agency

with Amazon Inc.

       35.     Amazon LLC is liable the acts of its agents which is knowingly ratifies.

                             SUBJECT MATTER JURISDICTION

       36.     This Court has original subject matter jurisdiction over this case pursuant to 28

USC § 1331 because Plaintiff makes claims under the Americans with Disabilities Act, 42 USC

§§12101 – 12213 (“ADA”).

                                  PERSONAL JURISDICTION

       37.     Plaintiff submits to the jurisdiction of this Court for this lawsuit.

       38.     Defendant is subject to personal jurisdiction in this Court for the specific purposes

of this lawsuit because the acts and omissions alleged herein took place in Kansas, and because

there is a nexus between the injuries alleged herein and Defendant’s ongoing business in Kansas.

                                              VENUE

       39.     Venue is proper in this District pursuant to 28 USC § 1391(b) because a substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred within this District.

                             ADMINISTRATIVE PROCEDURES

       40.     Between June 21, 2019 and June 28, 2019, Defendant failed to provide Plaintiff

reasonable accommodations.



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       41.     On June 28, 2019, Defendant terminated Plaintiff’s employment.

       42.     From June 28, 2019 to January 2020, Defendant refused to reinstate Plaintiff’s

employment, rehire Plaintiff, or employee Plaintiff.

       43.     On September 5, 2019, Plaintiff filed a Charge of Discrimination with the EEOC

against Defendant naming it “Amazon.” The EEOC assigned the Charge number 563-2019-03029

and file-stamped the Charge on September 5, 2019 acknowledging its receipt of the same. A copy

of the Charge is attached hereto as Exhibit A and is hereby incorporated by reference.

       44.     On September 5, 2019, Plaintiff filed a Charge of Discrimination with the EEOC

against Defendant naming it “Amazon.com Services, Inc.” The EEOC assigned the Charge

number 563-2019-03031 and file-stamped the Charge on September 5, 2019 acknowledging its

receipt of the same. A copy of the Charge is attached hereto as Exhibit B and is hereby

incorporated by reference.

       45.     On September 11, 2019, the EEOC sent Defendant notice of Charge Nos. 563-

2019-03029 and 563-2019-03031.

       46.     In September 2019, Defendant received notice of the Charge Nos. 563-2019-03029

and 563-2019-03031.

       47.     On January 17, 2020, Defendant responded to Charge Nos. 563-2019-03029 and

563-2019-03031 by providing the EEOC with documents and factual allegations including,

without limitation, the false claim that Defendant terminated Plaintiff’s employment for “job

abandonment.”

       48.     On February 18, 2020, the EEOC issued a Notice of Right to Sue to Plaintiff

concerning Charge No. 563-2019-03029 authorizing her to file this lawsuit within 90 days. A copy

of the Notice is attached hereto as Exhibit C and is hereby incorporated by reference.



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        49.    On February 18, 2020, the EEOC issued a Notice of Right to Sue to Plaintiff

concerning Charge No. 563-2019-03031 authorizing her to file this lawsuit within 90 days. A copy

of the Notice is attached hereto as Exhibit D and is hereby incorporated by reference.

        50.    Ninety days from February 18, 2020, is May 18, 2020.

        51.    This lawsuit was filed before May 18, 2020, or within 90 days of February 18, 2020.

        52.    Plaintiff exhausted all administrative remedies before timely filing this lawsuit.

                                  FACTUAL ALLEGATIONS

        53.    In May 2019, Defendant hired Plaintiff to work in Shawnee, Kansas.

        54.    On June 21, 2019, Plaintiff was shot in the face with a flare gun.

        55.    Plaintiff sustained traumatic burns to her face and hands resulting in a cosmetic

disfigurement to Plaintiff’s face and damage to her hands.

        56.    On June 21, 2019, Plaintiff was hospitalized and underwent surgeries.

        57.    Plaintiff could not care for herself, work, hold objects, perform manual tasks, bend

her fingers completely, and her ability to talk was substantially impaired.

        58.    Currently, Plaintiff has a cosmetic disfigurement substantially impairing Plaintiff’s

communications and interactions with others.

        59.    On June 21, 2019, Plaintiff’s mother and fiancé notified Defendant of Plaintiff’s

injuries, hospitalization and inability to work.

        60.    On June 22, 2019, Plaintiff was not scheduled to work further discovery will likely

show.

        61.    On June 22, 2019, Plaintiff’s mother and fiancé contacted Defendant at various

times, notified Defendant of Plaintiff’s injuries, hospitalization, temporary inability work, and

requested a temporary medical leave of absence.



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       62.     Defendant stated that Plaintiff’s job was “secure.”

       63.     Again, on June 23, 2019, Plaintiff and her mother contacted Defendant and

discussed Plaintiff’s injuries, including the extensive burns to her face and hands, Plaintiff’s

hospitalization and surgeries, Plaintiff’s inability to work, and Plaintiff’s need for a temporary

medical leave of absence.

       64.     Between June 21 and June 28, 2019, Defendant did not inform Plaintiff that she

needed to report her injuries or need for a temporary medical leave in any particular way.

       65.     Between June 21 and June 28, 2019, Defendant did not inform Plaintiff that she,

her mother, or her fiancé had not reported her injuries or need for temporary medical leave

properly.

       66.     On June 28, 2019, Defendant terminated Plaintiff’s employment.

       67.     Defendant documented Plaintiff as a “voluntary termination.”

       68.     June 30, 2019, Plaintiff was discharged from the hospital and received notice that

Defendant had terminated her employment representing it as a “voluntary resignation.”

       69.     Plaintiff contacted her immediate supervisory, Area Manager Timmy Smith.

       70.     Defendant’s Area Manager, Timmy Smith (“Smith”), told Plaintiff that he

terminated her employment but did not categorize the termination as “job abandonment” which

would normally be the case.

       71.     Smith told Plaintiff that he did not document Plaintiff’s termination as “job

abandonment” because he “knew what her situation was.”

       72.     Smith told Plaintiff that he “treated” her termination as a “voluntary term.”

       73.     On about July 31, 2019, Plaintiff was released to resume employment.




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         74.     On July 31, 2019, Plaintiff notified Defendant that she was released to work and

asked if Smith would contact her.

         75.     Plaintiff received no response.

         76.     On August 6, 2019, Plaintiff again contacted Defendant to return to work.

         77.     On August 7, 2019, Plaintiff contacted Defendant again and asked to be returned to

work.

         78.     Defendant told Plaintiff she would have to go through the “onboarding process”

again.

         79.     Plaintiff opposed disability discrimination by asking Smith whether it was illegal

to fire someone while that person was in the hospital.

         80.     Smith acknowledged that he had received pictures of the burns to Plaintiff’s face

and Plaintiff’s medical documentation.

         81.     Smith acknowledged that on or about June 22, 2019, he had spoken with Plaintiff’s

mother about Plaintiff injuries, hospitalization, inability to talk, and need for temporary work

leave.

         82.     Smith told Plaintiff that he would support her in returning to work if one of

Defendant’s other departments contacted him because he knew that Plaintiff was not at work while

in the hospital because she had “let him know.”

         83.     On August 7, 2019, Plaintiff made a complaint of disability discrimination and

retaliation with Defendant and made a request for reinstatement or rehire.

         84.     On August 7, 2019, Plaintiff provided Defendant her current telephone number and

email address.




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         85.   On August 7, 2019, Defendant told Plaintiff that it had created a report or “ticket”

regarding her concerns and request and that its “team” would get back to Plaintiff within 24-48

hours.

         86.   By August 13, 2019, Defendant had not gotten back to Plaintiff.

         87.   On August 13, 2019, Plaintiff contacted Defendant again, provided her name, date

of birth, employee login password, her current email address, her current telephone number, and

informed Defendant that her application for employment was submitted and inquired about her

rehire/reinstatement date.

         88.   On August 13, 2019, Defendant told Plaintiff that it did not have a start date for

Plaintiff, that Plaintiff was eligible for rehire, and Defendant would get back to her as soon as her

application was approved.

         89.   By August 19, 2019, Defendant had not contacted Plaintiff to follow up on her

reinstatement or rehire request.

         90.   On August 19, 2019, Plaintiff contacted Defendant to inquire again about returning

to work, she provided her current telephone number, and asked that Smith call her.

         91.   On August 19, 2019, Defendant told Plaintiff it had not reinstated her because of

“what had happened.”

         92.   On August 19, 2019, Defendant provided Plaintiff the email address dmcl-

hr@amazon.com and told Plaintiff that she should use that email address to address her concerns.

         93.   On August 23, 2019, Plaintiff emailed dmcl-hr@amazon.com, reiterated her

complaints of disability discrimination and retaliation, reiterated her on-going attempts to return

to work, and requested help.




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       94.     On August 23, 2019, Plaintiff received an automated response saying her message

was not delivered because the address could not be found or was unable to receive mail.

       95.     On August 23, 2019, Plaintiff sent her email to dmcl-hr@amazon.com by text

message to Defendant and including the automated bounce-back message showing that email

address was not working.

       96.     On August 23, 2019, Plaintiff reiterated her complaints of discrimination and

retaliation with Defendant via text message, told Defendant she felt she was being lied and was

getting “the run around.”

       97.     Plaintiff received no response.

       98.     From July 31, 2019 to the end of 2019, Plaintiff received no communications from

Defendant despite having provided Defendant with her updated, current contact information on

several occasions.

       99.     From July 31, 2019 to January 2020, Defendant did not return Plaintiff to work

despite Plaintiff’s continuous efforts to return to work.

       100.    On September 5, 2019, Plaintiff initiated her legal claims against Defendant by

filing a charge of discrimination against Defendant with the EEOC.

       101.    After Defendant received Plaintiff’s charge of discrimination, Defendant reinstated

Plaintiff’s employment on or about January 28, 2020.

       102.    Approximately a month later, Defendant notified Plaintiff that her employment

with Defendant would be terminated soon due to restructuring.

       103.    In March 2020, Plaintiff requested a medical leave of absence from Defendant for

further surgery to her face.




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       104.    Defendant told Plaintiff her request for leave was granted and that she could have

a medical leave of absence until April 15, 2020.

       105.    While Plaintiff was on medical leave Defendant “off-boarded” Plaintiff or

otherwise terminated her employment.

       106.    When Plaintiff returned to work after her leave of absence, she was not allowed to

work for days and was told to turn around and go back home.

       107.    After making complaints and requests that she be allowed to resume her normal

work schedule, Defendant allowed her to return.

       108.    Currently, Plaintiff is employed by Defendant awaiting the termination of her

employment that Defendant foreshadowed in February 2020.

       109.    At all times mentioned herein, before and after, the above described perpetrators

were agents, servant and employees of Defendant and were at all such times acting within the

scope and course of their agency and employment, or their actions were expressly authorized or

ratified by Defendant. Therefore, Defendant is liable for the actions of said persons and/or other

perpetrators under all theories pled herein.

                                       COUNT I
                       THE AMERICANS WITH DISABILITIES ACT
                               Disability Discrimination

       110.    Plaintiff incorporates by reference every other allegation made in this Complaint.

       111.    Defendant was an employer for purposes of the ADA.

       112.    Plaintiff was an employee of Defendant for purposes of the ADA.

       113.    Plaintiff was disabled for purposes of the ADA.

       114.    Plaintiff had a record of being disabled for purposes of the ADA.

       115.    Defendant regarded Plaintiff as being disabled for purposes of the ADA.



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       116.    Defendant terminated Plaintiff’s employment on June 28, 2019 because Plaintiff

was disabled, had a record of being disabled, or because it regarded her as disabled.

       117.    Defendant failed to provide Plaintiff with the reasonable accommodation of a

temporary medical leave of absence despite knowing her injuries, hospitalization and medical

treatment, disabling condition and cosmetic disfigurement.

       118.    From August 1, 2019 to January 2020, Defendant chose not to reinstate or rehire

Plaintiff despite Plaintiff’s efforts to return because Plaintiff was disabled, had a record of being

disabled, or because it regarded her as disabled.

       119.    The adverse employment actions alleged above directly and proximately caused

Plaintiff to suffer damages, including emotional distress, humiliation, intimidation, embarrassment

and frustration.

       120.    Defendant’s discrimination against Plaintiff was done with malice or reckless

indifference to Plaintiff’s federally protected rights. Defendant is therefore liable for punitive

damages in an amount sufficient to punish Defendant and to deter it and other employers from

engaging in similar conduct.

       121.    The persons who terminated Plaintiff’s employment and refused to allow her to

return to work in 2019 were agents of Defendant who were acting in the course and scope of their

agency with Defendant or acted with express authority from Defendant.

       122.    Defendant, through its agents or employees, acted outrageously by engaging in

discriminatory practices with malice or reckless indifference to Plaintiff’s federally protected

rights. Defendant is therefore liable for punitive damages in an amount sufficient to punish

Defendant and to deter it and other employers from engaging in similar conduct.




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       WHEREFORE, Plaintiff prays for judgment against Defendants on Count I of her

Complaint, for a finding that she has been subjected to unlawful discrimination in violation of 42

U.S.C. § 12101 et seq.; for compensatory and punitive damages; equitable relief; costs expended;

reasonable attorneys’ and experts’ fees provided by 42 U.S.C. § 2000e-5; and for such other relief

the Court deems just and proper.

                                   COUNT II
                       THE AMERICANS WITH DISABILITIES ACT
                                   Retaliation
       123.    Plaintiff incorporates by reference every other allegation made in this Complaint.

       124.    Plaintiff engaged in protected activity by requesting workplace accommodations to

accommodate her disability.

       125.    Plaintiff also engaged in protected activity by opposing what she reasonably

believed was unlawful discrimination and by registering complaints of discrimination and

retaliation with Defendant.

       126.    Defendant retaliated against Plaintiff by failing to provide Plaintiff with reasonable

accommodations in the form of temporary medical leave, terminating her employment, lying about

the reason for her termination, disregarding Plaintiff’s attempts to return to her employment with

Defendant, and refusing to allow Plaintiff to resume her employment with Defendant for

approximately six months.

       127.    Defendant terminated Plaintiff’s employment, lied about the reason for her

termination, disregarded Plaintiff’s multiple attempts to resume her employment with Defendant,

and refused to return Plaintiff to work from approximately August 1, 2019 to January 2020,

because of Plaintiff’s protected activity.




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         128.   The materially adverse acts alleged above directly and proximately caused Plaintiff

to suffer damages, including lost wages, lost benefits, emotional distress, humiliation,

intimidation, embarrassment, and frustration.

         129.   Defendant’s retaliation against Plaintiff was done with malice or reckless

indifference to Plaintiff’s federally protected rights. Defendant is therefore liable for punitive

damages in an amount sufficient to punish Defendant and to deter it and other employers from

engaging in similar conduct.

         WHEREFORE, Plaintiff prays for judgment against Defendant on Count II of her

Complaint, for a finding that she has been subjected to unlawful retaliation prohibited by 42 U.S.C.

2000e et seq.; for compensatory and punitive damages; costs expended; reasonable attorneys’ and

experts’ fees provided by 42 U.S.C. 2000e-5; and for such other and further relief the Court deems

just and proper.

                                   COUNT III
                       THE AMERICANS WITH DISABILITIES ACT
                                   Interference

         130.   Plaintiff incorporate by reference every other allegation made in this Complaint.

         131.   Plaintiff engaged in an activity protected by the ADA by informing Defendant of

the traumatic burns to her face and hands, her hospitalization and surgeries, and by providing

Defendant with pictures and medical documentation concerning her disabling injuries and

cosmetic disfigurement, and by requesting accommodations in the form of temporary medical

leave.

         132.   Plaintiff was engaged in the exercise of her ADA protected rights when informing

Defendant of the above.




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       133.    Defendant coerced, threatened, intimidated, or interfered with Plaintiff’s exercise

and enjoyment of her ADA protected rights by terminating her employment and refusing to allow

her to return to her employment with Defendant in 2019 after her hospitalization.

       134.    Defendant was aware of Plaintiff’s injuries, the burns to her face and hands, her

hospitalization and medical treatment.

       135.    Defendant was aware of Plaintiff’s temporary inability to return to work.

       136.    Defendant terminated Plaintiff’s employment and did not allow her to resume her

employment with Defendant because Plaintiff exercised her ADA protected rights.

       137.    Defendant’s coercion, threats, intimidation or interference with Plaintiff’s exercise

and enjoyment of his ADA rights was motivated by an intent to discriminate against Plaintiff.

       138.     Defendant’s acts alleged above directly and proximately caused Plaintiff to suffer

damages, including emotional distress, humiliation, intimidation, embarrassment and frustration.

       139.    Defendant’s acts alleged above were done with malice or reckless indifference to

Plaintiff’s federally protected rights. Defendant is therefore liable for punitive damages in an

amount sufficient to punish Defendant and to deter it and other employers from engaging in similar

conduct.

       WHEREFORE, Plaintiff prays for judgment against Defendant on Count III of her

Complaint, for a finding that she has been subjected to unlawful retaliation prohibited by 42 U.S.C.

2000e et seq.; for compensatory and punitive damages; costs expended; reasonable attorneys’ and

experts’ fees provided by 42 U.S.C. 2000e-5; and for such other and further relief the Court deems

just and proper.




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                                     Respectfully Submitted,

                                     RALSTON KINNEY, LLC

                              By:     /s/ Thomas F. Ralston
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                                     ATTORNEYS FOR PLAINTIFF




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